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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                  Case No.: 4:18-cv-02344
                        Plaintiff,

v.                                                JURY TRIAL DEMANDED

DOES 1- 107,

                        Defendants.


                                     NOTICE OF APPEARANCE


          Andrew Bluebond of Reed Smith, LLP hereby enters his appearance on behalf of

Plaintiff Siemens Product Lifecycle Management Software Inc. and requests all pleadings,

motions, notices, or any other documents or instruments filed or served in this proceeding be sent

to him.

Dated: October 10, 2018                             Respectfully submitted,

                                                 /s/ Andrew Bluebond
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                                                  S.D. Tex. No. 1553007
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                                                 Counsel for Plaintiff Siemens Product Lifecycle
                                                 Management Software Inc.
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                               CERTIFICATE OF SERVICE

I certify that the above document was served via the Court’s CM/ECF system to all counsel of
record on October 10, 2018.

                                               /s/ Andrew Bluebond
                                                Andrew Bluebond




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